EXHIBIT A
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17

18 Counsel for Plaintiffs

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20
                             UNITED STATES DISTRICT COURT
21                          NORTHERN DISTRICT OF CALIFORNIA
                                SAN FRANCISCO DIVISION
22
   In re FACEBOOK BIOMETRIC                     )   Master File No. 3:15-cv-03747-JD
23 INFORMATION PRIVACY LITIGATION               )
                                                )   CLASS ACTION
24
                                                )
25 This Document Relates To:                    )   DECLARATION OF PAUL J. GELLER
                                                )
26         ALL ACTIONS.                         )
                                                )
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     DECLARATION OF PAUL J. GELLER - 3:15-cv-03747-JD
 1          Pursuant to 28 U.S.C. § 1746, I hereby declare and state as follows:

 2          1.     I am an attorney admitted to practice in the state of Florida, and I have been

 3 admitted pro hac vice in this action. I am the managing partner of Robbins Geller Rudman &

 4 Dowd LLP’s Boca Raton, Florida office, a founding partner of the firm, a member of its

 5 Executive and Management Committees, and head of the firm’s Consumer Practice Group. My

 6 firm, together with Edelson PC and Labaton Sucharow LLP, has been appointed class counsel in

 7 this case.

 8          2.     This declaration is based upon my personal knowledge unless otherwise

 9 indicated. If called upon to testify as to the matters stated herein, I could and would competently

10 do so.

11          3.     A true and accurate copy of an email I received from Kendrick Jan (kj@jan-

12 law.com) on April 7, 2021, is attached as Exhibit 1.

13          4.     A true and accurate copy of an email I received from John Pentz

14 (jjpentz3@gmail.com) on April 7, 2021 is attached as Exhibit 2.

15          5.     On April 7, 2021, I was invited to participate in a conversation with Kendrick Jan

16 and John Pentz. I agreed. During that conversation, which occurred via Zoom, Mr. Pentz and Mr.

17 Jan described the basis of their planned appeal, which was consistent with the email attached as

18 Exhibit 2. During that conversation, Mr. Pentz and Mr. Jan conveyed to me that the cost of

19 resolving the appeal would be substantially more than they were requesting in their petition for

20 fees for purportedly causing the reduction in class counsel’s fee request from the Court. I did not

21 negotiate with them and stated I was simply there to hear their position.

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     DECLARATION OF PAUL J. GELLER - 3:15-cv-03747-JD                                                 -1-
 1 The undersigned declares under penalty of perjury under the laws of the United States that the

 2 foregoing is true and correct to the best of their knowledge.

 3          Executed this 11th day of May 2021.

 4

 5          s/ Paul J. Geller

 6          Paul J. Geller

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 8                                   SIGNATURE ATTESTATION

 9          I hereby attest that I obtained the concurrence of Paul J. Geller in the signing and filing

10 of this document.

11          Dated: May 11, 2021                                    s/ Jay Edelson

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     DECLARATION OF PAUL J. GELLER - 3:15-cv-03747-JD                                                     -2-
Exhibit 1
From: Kendrick Jan <kj@jan-law.com>
Sent: Wednesday, April 7, 2021 1:36 PM
To: Paul Geller <pgeller@rgrdlaw.com>
Cc: John Pentz <jjpentz3@gmail.com>
Subject: Confidential contact request

Mr. Geller:

Later today John Pentz will be sending a confidential communication to the 9th Circuit
mediation office in connection with our appeal in Facebook. We are letting that office
know we intend to pursue a discrete issue arising out of the conduct of one of the lead firms
and the related inclusion of impermissible hours/fees in CC's lodestar.

We are introducing this topic confidentially as a courtesy to Class Counsel. If you would like to
have a private conversation with me to preliminarily discuss the issue, please let me know of a
time convenient to your calendar and I will then send you a corresponding Zoom invitation.

Cordially,

Kendrick Jan
Exhibit 2
